              Case 3:16-cv-00513-D Document 138 Filed 05/25/17                                                                 Page 1 of 24 PageID 6308
AO 133       (Rev. 12/09) Bill of Costs - TXND


                                                UNITED STATES DISTRICT COURT
                                                                                            for the
                                                                    __________
                                                                       Northern District
                                                                                District of
                                                                                         of __________
                                                                                            Texas

                       Three Expo Events, LLC                                                   )
                                                                                                )
                                          v.                                                    )         Case No.: 3:16-cv-00513-D
                                City of Dallas                                                  )
                                                                                                )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                        05/11/2017                   against         Three Expo Events, LLC                  ,
                                                                                                           Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                                   4939.04

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      397.61

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .


                                                                                                                                              TOTAL            $               5336.65

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                       Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ’
         ✔          Electronic service                                    ’        First class mail, postage prepaid
         ’          Other:
             s/ Attorney:              /s/ Thomas P. Brandt
                          Name of Attorney: Thomas P. Brandt
For:                                                           City of Dallas                                                                       Date:          05/25/2017
                                                             Name of Claiming Party

                                                                                  Taxation of Costs
Costs are taxed in the amount of                                                                                                                        and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                            Date
AO 133 (Rev. 12/09) 3:16-cv-00513-D
          Case      Bill of Costs7;1'        Document 138 Filed 05/25/17                       Page 2 of 24 PageID 6309
                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE          SUBSISTENCE            MILEAGE
                                                                                                                                       Total Cost
          NAME , CITY AND STATE OF RESIDENCE                                   Total               Total                Total         Each Witness
                                                                     Days      Cost      Days      Cost       Miles     Cost


                                                                                                                                                      0



                                                                                                                                                        0



                                                                                                                                                        0



                                                                                                                                                      0



                                                                                                                                                        0


                                                                                                                                                        0


                                                                                                                   TOTAL                              0


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the partyclaiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, cost s — other than attorney's fees — should be allo wed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.




                                                                                                                                       Reset
 Case 3:16-cv-00513-D Document 138 Filed 05/25/17          Page 3 of 24 PageID 6310


                                   Three Expo #28203
                        Bill of Costs Supporting Documentation

Expense        Description                Amount      Supporting      Total
                                                      documentation
Transcripts
               Preliminary Injunction     $288.35     3
               hearing, 04/18/2016
               Sub-Total:                 $288.35                     $288.35
Depositions
               John Philip Johnson,       $522.51     4
               Jr., 09/28/2016
               Ronald C. King,            $454.78     5
               9/29/2016
               Jeff Handy,                $1,974.55   6
               01/12/2017
               Patrick Perrino,           $908.85     7
               02/03/2017
               Patrick Perrino (video),   $790.00     8
               01/12/2017
               Sub-Total:                 $4,650.69                   $4,650.69
Copies
               FHMBK copy charges,        $186.00
               color photographs
               TX Secretary of State,     $1.03       9
               02/18/2016
               TX Secretary of State,     $25.00      10
               02/24/2016
               TX Secretary of State,     $3.08       11
               02/24/2016
               PA Secretary of State,     $125.00     12-14
               02/24/2016
               TX Secretary of State,     $3.00       15
               01/04/2017



28203/544693
                                                                                  1
 Case 3:16-cv-00513-D Document 138 Filed 05/25/17        Page 4 of 24 PageID 6311



               TX Secretary of State,     $1.00     16
               01/05/2017
               First Amended Class        $17.00    17
               Action Complaint for
               Injunctive Relief and
               Damages, Los Angeles
               Superior
               Court,03/02/2016
               Victory Tradeshow          $8.20     18
               Management, LLC
               Answer to Complaint,
               Los Angeles Superior
               Court,
               03/02/2016
               Victory Tradeshow     $6.20          19
               Management, LLC First
               Amended Answer to
               Complaint, Los
               Angeles Superior
               Court,
               03/02/2016
               Class Action Complaint     $10.60    20
               for Injunctive Relief,
               Los Angeles Superior
               Court,
               03/02/2016
               Name Search, Jeffrey       $1.00     21
               Handy, Los Angeles
               Superior Court,
               03/02/2016
               Certified Copies of City   $10.50    22
               of Miami Beach City
               Commission Meeting
               Minutes, 05/10/2017
               Sub-Total:                 $397.61                   $397.61

                                                    Total:          $5,336.65



28203/544693
                                                                                2
     Case 3:16-cv-00513-D Document 138 Filed 05/25/17                                                Page 5 of 24 PageID 6312

AO 44 Rev. 11/08)

                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Northern District of Texas
                                                                                                                NUMBER
                                                INVOICE                                                          001

   TO:       Kimmy Robinson - Fanning Harper                                              MAKE CHECK PAYABLE TO:
             krobinson@fhmbk.com                                                            Pamela J. Wilson
                                                                                            7802 Wilmington Drive
                                                                                            Rowlett, Texas 75089

           PHONE:         (972) 860-0388                                                 PHONE:         (214) 662-1557
           FAX:




IN THE MATTER OF (CASE NUMBER AND TITLB)
 (3:16-cv-0513-D; Three Expo Events, LLC v. City of Dallas, et al.) 4/18/2016 preliminary injunction
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                                  ORIGINAL                                 1sr COPY                    ADDITIONAL COPIES
 CATEGORY                                                                                                                                  TOTAL
                      PAGES       PRICE@
                                                  SUB          PAGES       PRlCE@
                                                                                         SUB
                                                                                                   PAGES        PRICE@        SUB         CHARGES
                                                TOTAL                                   TOTAL                                TOTAL

  Ordinary               79         3.65        288.36                         0.90      0.00                     0.60         0.00           288.35
  14-Day                            4.25           0.00                        0.90      0.00                     0.60         0.00              o.oo
 Expedited                          4.85           0.00                        0.90      0.00                     0.60         0.00              0.00

 Daily                              6.05           o.oo                        1.20      0.00                     0.90         0.00              0.00

 Hourly                             7.25           0.00                        1.20      o.oo                     0.90         0.00              0.00

 Realtime                           3.05           0.00                        1.20      0.00                                                    0.00

 For proceedings on (Date):                                                                                                 TOTAL             288.35
                                                                                        LESS DISCOUNT FOR LATE DELIVERY

                                                                                                     ADD AMOUNT OF DEPOSIT

                                                                                                             TOTAL REFUNDED                      0.00
                                                                                                                       TOTAL DUE              288.35
                                                            ADDITIONAL INFORMATION
         Full price may be changed only if the transcript is delivered within the required time frame. For example, if an order for expedited transcript
 is not completed and delivered within {7) calendar days, payment would be at the 14-day delivery rate, and if not completed and delivered within
 14 days, payment would be at the ordinary delivery rate.

                                                                CERTIFICATION
       I certify that the transcript fees charged and page format used comply with the requirements of this court and the Judicial Conference of the
 United States.
SIGNATURE OF OFFICIAL COURT REPORTER                                                                     PATE

 s/Pamela Wilson                                                                                                           11/22/2016

                  DISTRIBUTION:    TO PARTY (2 copies· I to be retumedwith payment)   COURT REPORTER       COURT RBPORTER SUPERVISOR




                                                                                                                                                           3
             Case 3:16-cv-00513-D Document 138 Filed 05/25/17                           Page 6 of 24 PageID 6313


 DepoTexas
                                                                               INVOICE
                                                                          Invoice No.       Invoice Date            Job No.
 6500 Greenville Avenue, Suite 445
 Dallas, TX 75206                                                           422078            10/17/2016            302736
 Phone:214-373-4977 Fax:214-363-7758
                                                                           Job Date                      Case No.
                                                                                                                              -·-
                                                                           9/28/2016       3: 16·CV-00513-D
                                                                                             Case Name
                                                                     Three Expo Events, LLC v. City of Dallas

      Laura O ' Leary
      Fanning, Harper, Martinson, Brandt & Kutchin, PC                                     Payment Terms
      4849 Greenville Ave., Ste. 1300                                Due upon receipt
      Dallas, TX 75206


 1 COPY OF TRANSCRIPT OF:
      John Philip Johnson Jr.                                                                                            522.51
                                                                                 TOTAL DUE >>>                         $522.51
                                                                                 AFTER 11/16/2016 PAY                   $530.35
 INVOICE(S) DUE UPON RECEIPT AND IS NOT CONTINGENT UPON YOUR CLIENT'S PAYMENT.

 ANY QUESTIONS ABOUT BILLING SHOULD BE RAISED WITHIN 15 DAYS OF RECEIPT OF INVOICE OTHERWISE THE BILLING WILL BE.
 DEEMED ACCEPTED AS PRESENTED AND PAID IN FULL.

 WE APPRECIATE YOUR BUSINESS.




Tax ID: XX-XXXXXXX



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             Case 3:16-cv-00513-D Document 138 Filed 05/25/17                            Page 7 of 24 PageID 6314

                                                                                INVOICE
 De poTexas
                                                                           Invoice No.       Invoice Date              Job No.
 6500 Greenville Avenue, Suite 445
 Dallas, TX 75206                                                            422060            10/17/2016              302737
 Phone: 214-373-4977 Fax:214-363-7758
                                                                            Job Date                        Case No.
                                                                            9/29/2016       3: 16-CV-00513-D
                                                                                              Case Name
                                                                                              -
                                                                     Three Expo Events, LLC v. City of Dallas

      Fransico J. Valenzuela
      Fanning, Harper, Martinson, Brandt & Kutchin, PC                                      Payment Terms
      4849 Greenville Ave., Ste. 1300                                Due upon receipt
      Dallas, TX 75206



 1 COPY OF TRANSCRIPT OF:
      Ronald c. King                                                                                                        454.78
                                                                                  TOTAL DUE       >>>                     $454.78.
                                                                                  AFTER 11/16/2016 PAY                     $461.60
 INVOICE(S) DUE UPON RECEIPT AND IS NOT CONTINGENT UPON YOUR CLIENT'S PAYMENT.

 ANY QUESTIONS ABOUT BILlJNG SHOULD BE RAISED WITl-l[N 15 DAYS OF RECEIPT OF INVOICE OTHERWISE THE BILLING WILL BE
 DEEMED ACCEPTED AS PRESENTED AND PAID IN FULL.

 WE APPRECIATE YOUR BUSINESS.




Tax ID: XX-XXXXXXX




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    Case 3:16-cv-00513-D Document 138 Filed 05/25/17    Page 8 of 24 PageID 6315

                      JILL JOHNSON COURT REPORTING
                               1205 Edgefield Drive
                               Plano, Texas 75075
                                  972w633M9675
                             Tax ID. No. 75�2498838

       Invoice No. 1703                                January 30, 2017




       Mr. Thomas P. Brandt
       Fanning Harper Martinson Brandt & Kutchin
       Two Energy square
       4849 Greenville Avenue
       suite 1300
       Dallas, Texas 75206
       214-369-1300

       Re:   Three Expo Events v Dallas

       1/12/17 deposition of
0      JEFF HANDY
       original and one copy,
       exhibit copies, Etranscript, PDF                          $1974.55




0

                                                                                   6
       Case 3:16-cv-00513-D Document 138 Filed 05/25/17    Page 9 of 24 PageID 6316
                         JILL JOHNSON COURT REPORTING
                                  1205 Edgefield Drive
                                  Plano, Texas 75075
 (                                   972-633-9675
                                Tax ID. No. XX-XXXXXXX

         Invoice No. 1706                                February 16, 2017




         Mr. Frank Valenzuela
         Fanning Harper Martinson Brandt      & Kutchin
         Two Energy square
         4849 Greenville Avenue
         suite 1300
         Dallas, Texas 75206
         214-369-1300
         fvalenzuela@fhmbk.com


         Re:   Three Expo Events v Dallas

(        2/3/17 deposition of
         PATRICK PERRINO
         original and one copy,
         exhibit copies,
         Etranscript and PDF                                       $908.85




( ..



                                                                                      7
     Case 3:16-cv-00513-D Document 138 Filed 05/25/17            Page 10 of 24 PageID 6317




Jay Burney, Videographer

403 Buttonwood Drive
Coppell, Texas 75019
                                                      Tux ID No. 454089942
Cell: 972.768.8534
burneytv@verizon.net

TO    Mr. Frank J, Valenzuela
      Fanning Harper Martinson Brandt & Kutchin, PC
      Two Energy square
      4849 Greenville Ave. suite 1300
      Dallas, Texas 75206-4151
      fvalenzuela@fhmbk.com




                                                                                             8
Case 3:16-cv-00513-D Document 138 Filed 05/25/17                                          Page 11 of 24 PageID 6318


  Corporations Section
 P.0.Box 13697                                                                                          Carlos H. Cascos
 Austin, Texas 78711-3697                                                                                        Secretary of State



                                            Office of the Secretary of State
                                                           Packing Slip
                                                                                                                February 18, 2016
                                                                                                                        Page 1 of 1
 Attn: Fanning Harper Martinson Brandt & Kutchin, P.C.
 Fanning Harper Martinson Brandt & Kutchin, P.C.
 Two Energy Square
 4849 Greenville Avenue, Suite 1300
 Dallas, TX 75206



 �atch Number: 65655646                                 Batch Date: 02-18-2016
 Client ID: 15462351                                    Return Method: Email
 Client Reference: 28203


 Document                                                                                                 Page
 Number                  Document Detail                       Number /Name                               Count               Fee
 656556460002            Find                                   three expo events                                          $1.00

 656556460003            Convenience Fee                                                                                    $0.03

                                                                                                  Total Fees:                $1.03




 Payment Type                   Payment Status                    Payment Reference                                       Amount
  Credit Card                   Accepted                                                                                     $1.03

                                                                                                         Total:              Sl.03

                                                      Total Amount Charged to Client Account:                               $0.00
                     (Applies to documents or orders where Client Account is the payment method)


 Nole to Customers Paying by Client Account: This is not a bill. Payments to your client account should be based
 on the monthly statement and not this packing slip. Amounts credited to your client account may be refunded
 upon request. Refunds (if applicable) will be processed within 10 business days.


 User ID: WEBSUBSCRIBER




                                   Come visit us 011 the !11temet@lrttp;//www.sos.state.t:c.us/
Phone: (512) 463-5555                                FAX: (512) 463-5709                           Dial: 7-1-lfor Relay Services

                                                                                                                                      9
      Case 3:16-cv-00513-D Document 138 Filed 05/25/17
                                                                                                       ) ?:>-03.
                                                                                                  Page 12 of 24 PageID 6319
                                                                                                                                           'I
      Corporations Section
      P.O.Box 13697                                                                                     Carlos H. Cascos
      Austin, Texas 78711-3697                                                                                   Secretary of State
.•


                                             Office of the Secretary of State
                                                            Packing Slip
                                                                                                                February 24, 2016
                                                                                                                        Page 1 ofl
      Attn: Karen Spillman
      Fanning Harper Martinson Brandt & Kutchin, P.C.
      Two Energy Square
      4849 Greenville Avenue, Suite 1300
      Dallas, TX 75206



     _!latch Number: 65779804                            Batch Date: 02"24-2016
      Client ID: 15462351                                Return Method: Fax O




      Document                                                                                            Page
      Number             Document Detail                       NumberZName                                Count               Fee
      657798040002       Certificate of No Record                Exotica Texas, LLC                          1            $15.00
      657798040002       Expedited                                                                                         $10,00

                                                                                                  Total Fees:              $25.00



      Payment Type               Payment Status                    Payment Reference                                      Amount

       Credit Card               Received                                                                                  $25.00

                                                                                                         Total:             S25.00

                                                          Total Amount Charged to Client Account:                           $0.00
                         (Applies to documents or orders where Client Account is the payment method)


      Note to Customers Paying by Client Account: This is not a bill. Payments to your client account should be based
      011the monthly statement and not this packing slip. Amounts credited to your client account may be refunded
      upon

      There is a 2.7% convenience fee on credit card payments. This additional amount will be computed and shown
      on

      User ID: DROGERS




                                     Come visit us on the lntemot@ http://www.sos.state.tx. usl
     Phone: (512) 463-5555                             FAX: (512) 463-5709                         Dial: 7-1-1 for Relay Services

                                                                                                                                      10
Case 3:16-cv-00513-D Document 138 Filed 05/25/17                                     Page 13 of 24 PageID 6320


  Corporations Section
  P.O.Box 13697                                                                                     Carlos H. Cascos
  Austin, Texas 78711-3697                                                                                   Secretary of State


                                        Office of the Secretary of State
                                                       Packing Slip
                                                                                                            February 24, 2016
                                                                                                                    Page 1 of I
  Attn: Fanning Harper Martinson Brandt & Kutchin, P.C.
  Fanning Harper Martinson Brandt & Kutchin, P.C.
  Two Energy Square
  4849 Greenville Avenue, Suite 1300
  Dallas, TX 75206



 �atclt Number: 65775064                            Batch Date: 02-24-2016
  ClientID: 15462351                                 Return Method: Email
  Client Reference: 28203


  Document                                                                                            Page
  Number             Document Detail                       Number I Name                              Count               Fee
  657750640002       Find                                    Exotica Texas, LLC                                        $1.00
  657750640003       Find                                    Exotica Texas, LLC                                        $1.00
  657750640004       Find by Global People Name              JHandy                                                    $1.00

  657750640005       Convenience Fee                                                                                    $0,08

                                                                                              Total Fees:                $3.08



  Payment Type               Payment Status                   Payment Reference                                       Amount

   Credit Card               Accepted                          ************002                                           $3,08

                                                                                                     Total:              $3.08

                                                     Total Amount Charged to Client Account:                            $0.00
                    (Applies to documents or orders where Client Account is the payment method)


  Note to Customers Paying by Client Account: This is not a bill. Payments to your client account should be based
  on the monthly statement and not this packing slip. Amounts credited to your client account may be refunded
  upon request. Refunds (if applicable) will be processed within l O business days.


  User ID: WEBSUBSCRIBER




                                Come visit us 011 the !11temet@http://www.sos.state.tx.11s/
 Phone: (512) 463-5555                             FAX: (512) 463-5709                         Dial: 7-1-1 for Relay Services


                                                                                                                                  11
5/16/2017
               Case 3:16-cv-00513-D DocumentAccount
                                              138Transactions:
                                                    Filed 05/25/17
                                                               PEGASUS BANK
                                                                            Page 14 of 24 PageID 6321

                   FANNING HARPeR MARTINSON
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                      BRANOT &KUTCHIN, PC
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                                 O.\U.AS, TX 1620�



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                                                                                                                                     12
           Case 3:16-cv-00513-D Document 138 Filed 05/25/17                    Page 15 of 24 PageID 6322

l<aren Spillman

From:                              ST, PennFile <RA-STPENNFILE@pa.gov>
Sent:                              Wednesday, February 24, 2016 2:55 PM
To:                                Karen Spillman
Subject:                           RE: Certificate of No Records



No we need the payment with the request.


From: Karen Spillman [mailto:kspillman@fhmbk.com]
Sent: Wednesday, February 24, 2016 3:25 PM
To: ST, PennFile
Subject: RE: Certificate of No Records

Is it possible to make the request by fax or email?


From: ST, PennFile [mailto:RA-STPENNFILE@pa.gov]
Sent: Wednesday, February 24, 2016 2:24 PM
To: Karen Spillman
Subject: RE: Certificate of No Records

You could mail a written request for a certificate of n   record for $125.00

PA Department of State
Bureau of Corporations
and Charitable Organizations
Room 206
401 North St.
Harrisburg PA 17120



__________ ----         ,

From: Karen Spillman [mailto:kspillman@fhmbk.com]
Sent: Wednesday, February 24, 2016 3:12 PM
To: ST, PennFile
Subject: Certificate of No Records

I would like to make a request for a Certificate of No Records (or similar certificate documenting a company is not
registered with the state) for a corporation that supposedly has its principal place of business in Pennsylvania. Could
you please advise me on how to proceed with this request? The corporation I am curious about is:

Exotica Texas, LLC.



Thank you,
Juvten
Karen F. Spillman I Paralegal I kspillman@fhmbk.com
Fanning Harper Martinson Brandt & Kutchin, P.C. I www.fhmbk.com
Two Energy Square I 4849 Greenville Avenue I Suite 1300 I Dallas, TX 75206
Direct: 972.860.0379 I Main Phone: 214.369.1300 I Facsimile: 214.987.9649

                                                               1                                                      13
         Case 3:16-cv-00513-D Document 138 Filed 05/25/17                Page 16 of 24 PageID 6323

fffl   FHMBK



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recipient, an employee or agent of the intended recipient who is responsible for delivering it to the intended
recipient, or you believe that you have received this communication in error, please notify the sender
immediately by return e-mail and promptly delete this e-mail, including attachments without reading or saving
them in any manner. The unauthorized use, dissemination, distribution, or reproduction of this e-mail, including
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recipient, or you believe that you have received this communication in error, please notify the sender
immediately by return e-mail and promptly delete this e-mail, including attachments without reading or saving
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waiver of any attorney/client or other privilege.




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  Corporations Section
  P.O.Box 13697                                                                                     Carlos H. Cascos
  Austin, Texas 78711-3697                                                                                  Secretary of State



                                        Office of the Secretary of State
                                                       Packing Slip
                                                                                                             January 4, 2017
                                                                                                                   Page I of I
  Attn: Fanning Harper Martinson Brandt & Kutchin, P.C.
  Fanning Harper Martinson Brandt & Kutchin, P.C.
  Two Energy Square
  4849 Greenville Avenue, Suite 1300
  Dallas, TX 75206



 �atch Number: 70718783                             Batch Date: 01-04-2017
  Client ID: 15462351                               Return Method: Email
  Client Reference: 28203


  Document                                                                                            Page
  Number             Document Detail                       Number /Name                               Count              Fee
  707187830002       Find                                   VICTORY TRADE SHOW                                         $1.00
                                                            MANAGEMENT
  707187830003       Find                                    side street properties                                    $1.00
  707187830004       Find                                    side street management                                    $1.00


                                                                                              Total Fees:               $3.00




                                                         Total Amount Charged to Client Account:                        $3.00
                    (Applies to documents or orders where Client Account is the payment method)


  Note to Customers Paying by Client Account: This is not a bill. Payments to your client account should be based
  on the monthly statement and not this packing slip. Amounts credited to your client account may be refunded
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 Phone: (512) 463-5555                            FAX: (512) 463-5709                          Dial: 7-1-1 for Relay Services


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Case 3:16-cv-00513-D Document 138 Filed 05/25/17                                     Page 18 of 24 PageID 6325


  Corporations Section
  P.O.Box 13697                                                                                   Rolando B. Pablos
  Austin, Texas 78711-3697                                                                                 Secretary of State



                                        Office of the Secretary of State
                                                       Packing Slip
                                                                                                            January 5, 2017
                                                                                                                  Page 1 of l
  Attn: Fanning Harper Martinson Brandt & Kutchin, P.C.
  Fanning Harper Martinson Brandt & Kutchin, P.C.
  Two Energy Square
  4849 Greenville Avenue, Suite 1300
  Dallas, TX 75206



 _!latch Number: 70737852                           Batch Date: 01-05-2017
  Client ID: 15462351                               Return Method: Email
  Client Reference: 28203


  Document                                                                                           Page
  Number             Document Detail                       Number /Name                              Count              Fee
  707378520002       Find                                   victory trade show                                       $1.00


                                                                                             Total Fees:              $1.00




                                                     Total Amount Charged to Client Account:                          $1.00
                    (Applies to documents or orders where Client Account is the payment method)


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     COUNTY OF LOS ANGELES

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                    Civil Case Document Images - BC468525                                                                                                              Pages          Amount

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                    10/19/2011 • FIRST AMENDED CLASS ACTION COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES FOR: 1.
                                                                                                                                                                       (35
                    VIOLATION OF CIVIL CODE 51 THE UNRUH CIVIL RIGHTS ACT; 2. VIOLATION OF CIVILCODE 51 .S; 3. VIOLATION                                                                 $17.00
                    OF CIVIL CODE 51.6 THE GENDER TAX REPEALACTEF 1995; AND 4. NE
                                                                                                                                                                       pages
                                                                                                                                                                       total)

                    Total:                                                                                                                                                               $17.00


               Transaction Remark:            28203

               Transaction Date:              03/02/2016 09:17:58

               Credit Card Number: ... 0588

               credit Card Type:              Visa



               Blllto:                        Splllman, Karen
                                              3920 University
                                              Dallas, TX 75205




                                                 Art Showcased In
                                        Los Angeles Courthouse Jury Rooms




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           Civil Case Document Images - BC468525                                                                                       Pages                          Amount

           12/9/2011 • DEFENDANT.VICTORY TRADES HOW MANAGEMENT LLCS ANSWER TO COMPLAINT                                                1-13 (13 pages total)               $8.20

           Total:                                                                                                                                                          $8.20



         Transaction Remark: 28203

         Transaction Date:             03/02/2016 09:34:42

         Credit card Number: ... 0588

         Credit Card Type:            Visa


         Blllto:                      Spillman, Karen
                                      3920 University
                                      Dallas, TX 75205




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         amount charged is indicated below.
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           12/19/2011 • DEFENDANT, VICTORY TRAD ESH OW MANAGEMENT LLC'S FIRST AMENDED ANSWER                                                         1-B (8 pages
                                                                                                                                                                                 $6.20
           TO COMPLAINT                                                                                                                              total)

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         Credit Card Number:            ... 0588

         Credit Card Type:             Visa


         Blllto:                       Spillman, Karen
                                       3920 University
                                       Dallas, TX 75205




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        amount charged Is Indicated below.
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             Clvil Case Document Images - BC491078                                                                                                   Pages              Amount

             8/27/2012 • CLASS ACTION COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES FOR: 1. VIOLATION OF                                               1·19 (19
                                                                                                                                                                           $10.60
             CIVIL CODE? 51 ?THE UNRUH CIVIL RIGHTS ACT; ETC                                                                                         pages total)

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        BUI to:                         Spillman, Karen
                                        3920  University
                                         Dallas, TX 75205



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                    amount charged is Indicated below.
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                       HANDY, JEFFREY                               $1.00

                      Total:                                       $1.00


                    Transaction Remark:           28203

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                    Bill to:                      Spillman, Karen
                                                  3920 University
                                                  Dallas, TX 75205




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